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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION

 JEAN LOUIS BARRETO-
 BAERGA,

                    Plaintiff,

 v.                                               Case No: 6:25-cv-98-PGB-LHP

 OSCEOLA COUNTY, MARCOS
 LOPEZ, DAVID CRAWFORD,
 CHRISTOPHER KOFFINAS,
 JOSEPH DE JESUS, ARTURO
 DOMINGUEZ and BENJAMIN
 MACLEAN,

                    Defendants.
                                       /

                           ORDER TO SHOW CAUSE

        This case is before the Court upon periodic review. Plaintiff has failed to

 comply with the Court's Order of April 8, 2025 directing Plaintiff to “contact

 opposing counsel and the mediator to reserve a conference date and shall file a

 Notice with the Court within 14 days of this Order advising of the date.” (Doc. 42,

 p. 3). Such notice was never filed with the Court.

       Therefore, it is ORDERED that Plaintiff shall SHOW CAUSE and file a

 response to said Order within fourteen (14) days from the date of this Order.

 Failure to comply with this Order may result in dismissal of the case without

 further notice or other appropriate sanctions.
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       DONE AND ORDERED in Orlando, Florida on April 29, 2025.




 Copies furnished to:
 Counsel of Record
 Unrepresented Parties
